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IN THE UNITED STA'I`ES DISTR]CT C()URT
FOR THE SOU'I`HERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

ACE AMERICAN INSURANCE COMPANY,
et al.,

Plaintiffs,
vs.
HUNTSMAN CORPORA'I`ION and
INTERNAT!ONAL RISK INSURANCE
COMPANY,

Defendants.

 

 

Civil Action No. 4:07-Cv-02796

 

DEFENDAN'I` HUNTSMAN CORPORATION’S REPLY TO PLAIN'§`IFF
REINSURERS’ RESPONSE IN OPPOSITION TO HUNTSMAN CORPORA'I`ION’S
MO'I`ION TO DISMISS PURSUANT TO FE]). R. CIV. P. 12(b)(6)

 

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PRELIMINARY STATEMENT

'i`he Reinsurers’ opposition (“Opp.”) to Huntsman’s motion to dismiss grossly distorts the

factual reality regarding captive insurance companies and ignores the fotlowing undisputed

documentary evidence:

The two contracts at issue - the Huntsinan!IRIC Poiicy and the IRIC/Reinsurer
Certiticates -~ provide separate rights and obligations by and among Huntsman
and IRIC, and IRIC and the Reinsurers, respectively

The Huntsrnan/IRIC Policy contains a forum selection clause that gives Huntsrnan
the right to litigate ciaiins for insurance coverage under the Huntsrnan/IRIC
Policy in the court of its choosing With the law of that jurisdiction to apply.

The IRIC/Reinsurer Certi{icates, which Huntsrnan is not a party to, provide that
disputes between IRIC and the Reinsnrers under the IRIC/Reinsurer Certiticates
are subject to arbitration

The IRIC/Reinsurer Certificates further provide that the “Reinsurers agree to
follow all terrns, clauses, conditions, alterations, amendments and agreements as
agreed per the [Huntsman/IRIC Policy],” which includes the choice of forum
provision allowing Huntsman to choose the court in which to litigate its insurance
coverage claims under the Huntsman/IRIC Policy.

The IRIC/Reinsurer Certit`lcates aiso provide the Reinsurers With the right to be
actively involved in the resolution of Huntsman’s claims and to “associate Wit ”
IRIC in the investigation and defense of a claim or loss under the Huntsman/IRIC

Policy that may affect the lRIC/Reinsurer Certiticates.

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0 Given that IRIC is a captive insurance company - that is, it is wholly owned by
Huntsman for the express purpose of providing insurance to Huntsman ~ the
Huntsman/IRIC Poiicy provides for the appointment of an independent adjuster
(Integra) to adjust Huntsman’s claims for insurance coverage The
Huntsrnan/IRIC Policy also provides for a loss adjuster to be used “in co~
operation with the Reinsurers of this policy.”

In response, the Reinsurers have put forth a flurry of factual allegations that are largely
irrelevant and some of which actually support Huntsman’s request for a dismissal Even
assuming the facts alleged by the Reinsurers to be true for purposes of this motion to dismiss
(some are not true and others are raised for the first time in the Reinsurers’ opposition papers),
however, nothing that the Reinsurers claim that Huntsman and IRlC have done (or failed to do)
in connection with the adjustment of Huntsman’s claim for coverage is in any way inconsistent
with the contracts at issue or the manner in which Huntsrnan or IRIC is supposed to act in
adjusting a loss under the Huntsman/IRIC Policy. Despite the hyperbole in Reinsurers’
ailegations, Reinsurers allege no actual fa”c,t§ that would justify ignoring the explicit choice of
forum provision in the Huntsrnan/IRIC Policy, which was one of the provisions that Reinsurers
explicitly agreed to follow in the IRIC/Reinsurer Certit`icates.

Indeed, the Reinsurers’ voluminous exhibits and newly»asserted facts (which are
inappropriate in response to a motion to dismiss) reveal that:

0 At the time the contracts were entered, all parties, inciuding the Reinsurers, Were
aware that IRIC was a captive insurance company Wholly owned by Huntstnan
that Was organized for the purpose of providing insurance coverage to Huntsrnan.

Accordingly, the Reinsurers’ claim that lRIC is a “shell” corporation is

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meaningless; its relationship to I~luntsrnan and status were fully known to
Reinsurers when they entered into the reinsurance agreements

0 'i'here is no allegation that the Reinsurers’ contractual right to protect their
interests in connection with a coverage dispute between Huntsman and IRlC by
associating with IRlC in connection with any claim has been interfered with by
Huntsman or IRIC.

0 'I`he Reinsurers concede that they have stepped in to the adjustment process and
“essentially fulfilled IRlC’s obligations to Huntsman.” (Opp. 30.)

¢ Irnrnediately after the fire loss, the Reinsurers voluntarily assumed the adjustment
of this claim by directing and controlling the appointed claims adjuster (Integra)
under the Huntsman/IRIC Policy. Having directed the adjustment of Huntsrnan’s
claim under the provisions of the Huntsman/IRIC Poiicy, the Reinsurers do not
get to pick and choose which provisions they want to apply (and ignore) under the
Huntsrnan/IRIC Policy.

¢ Consistent with the terms and conditions of the Huntsnlan/IRIC Policy and the
IRIC/Reinsurer Certiticates, IRIC allowed the Reinsurers to direct and control
lntegra in the adjustment of Huntsman’s claim for insurance coverage under the
Huntsrnan/IRIC Policy and the affidavit of Ewan Cresswell (“Cresswell Aff.”)
explicitly affirms that IRlC did not assert any coverage positions or provide any
coverage evaluations independent of Integra. Thus, lRIC’s actions were entirely
consistent with the terms and conditions of the Huntsman/lRIC Policy and
IRIC/Reinsurer Certilicates and do not support the allegation that IRIC colludcd

in any way with liuntsman.

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o There are no allegations that at any time during the adjustment process the
Reinsurers or Integra suggested that IRIC had done or was doing anything that
Was inconsistent With its obligations or that the manner in Which the adjustment
was being conducted would vary any of the terms and conditions of the
Huntsman/IRIC Policy. ln fact, during the entire claims adjustment process
Integra has taken the exact opposite position; it has repeatedly affirmed to
Huntsman that “the Reinsnrers’ ongoing investigation and adjustment of these
matters through Integra or otherwise is not intended to and does not change the
nature and scope of coverage or the terms, exclusions, or conditions of the policy
or applicable reinsurance agreements, all such rights being expressly reserved. . .”
(Integra letters to Huntsrnan, App. to Opp. 0039-0040; see also id. at 0012-0013.)
Tellingly, the Reinsurers provide no legal authority to disregard the plain language of the
choice of forum provision in the liuntsman/]RIC Policy and to allow their extraordinary and
unprecedented claims for relief to proceed In fact, a review of the case law the Reinsurers cite
in support for their novel claims reveals that the claims as plead are simply insufficient to
provide a basis for the Reinsurers to state a claim to compel Huntsinan to arbitrate its claims for
insurance coverage In particular, the Reinsurers’ conclusory allegations of direct benelits
estoppel are insufficient because the Reinsurers’ allegations support the fact that Huntsman was
seeking to exercise it rights under and benefit from its contract With lRlC, not the IRIC/Reinsurer
Certiticates to which it was not a party. Moreover, the Reinsurers’ remaining allegations that are
made to support ignoring the choice of forum provision in the Huntsrnan/IRIC Policy fail to
adequately plead claims for veil piercing, agency, and third party beneficiary (a legal theory they

do not even assert in the Complaint).

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Finally, the Reinsurers plead no facts establishing the requisite contractual privity or a
justiciable controversy between Huntsrnan and the Reinsurers entitling the Reinsurers to sue
Huntsrnan. The lRlC/Rcinsurer Certificates provide the Reinsurers with no rights against
Huntsman, much less provide an explicit right allowing the Reinsurers to compel Huntsrnan to
litigate in a court of the Reinsurers’ choosing as opposed to a court of Huntsman’s choosing as
provided for in the Huntsnian/IRIC Policy. The bizarre nature of the Reinsurers’ declaratory
judgment claim against Huntsman is highlighted by the fact that it involves a request for a
coverage determination by this Court under the terms and conditions of the Huntsrnan/IRlC
Policy, while apparently asserting that the choice of forum provision contained in that very same
contract should ‘ne flatly disregarded

Pursuant to Fed. R. Civ. P. 12(b)(6), the Reinsurers’ claims against Huntsn'ian must be
dismissed in their entirety.

ARGUMEN'I`

l. Tlle Facts Alleged by Reinsurers Are insufficient to Plead Either of their
Alternative Claims for Relief

A. The Reinsurers’ Opposition Papers Rest Upon Grossly Distorted Allegations
About How Captive lnsurance Cornpanies and Reinsurers lnteract and How Such
Obligations Are Detennined

As discussed in Huntsman’s opening brief, a captive insurance company is owned by its
insured and is created for the express purpose of insuring its owner. The thrust of Reinsurers’
response is that IRIC, and by implication other captive insurers, “n'ierely function[ ] as [} ‘pass
through’ or shell corporation[s],” and thus should be ignored for all intents and purposes when
evaluating their bargained~for rights under the relevant contracts (Opp. 5; see also id. at ll, l4,
17, 23.) However, as the Reinsurers know well, captive insurance is not a new or novel idea.

Captive insurance companies, such as IRIC, have a long tradition of use both in the United States

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and internationally Reinsurers underwrite policies issued by captive insurance companies with a
clear understanding of the nature and purpose of captive insurance companies Ir1 fact, the
captive industry has seen immense growth in the last decade, and from 1980 to 2006, the number
of captives increased from around 1,000 to over 5,()0(). Jay D. Adl<isson, Captive Insurance
Companies: An In.troducti'on to Captives, Closely»Held Insurance Compani'es, and Risk
Retenti`on Groups Xiii (2006). lt is estimated that captive insurance companies now account for
over lO% of all commercial insurance premiums collected in the world and are responsible for
over 39 billion in premiums in the U.S. alone Id. As such, courts routinely recognize the
entirely legitimate role that captives have in providing insurance to their owners l See, e.g.,
Appalachian Ins. Co. v. Gen. Elec. Co., 8 N.Y.3d 162, l67 (2007) (discussing partially captive
insurer who had provided insurance to its parent company from the 19505 to the 19905); In re
Petition ofth Bd. ofDirs. of Hopewell Int’l Ins. Ltd., 238 B.R. 25, 32-33 (Bankr. S.D.N.Y.
1999); Houston Cas. Co. v. Lexington Ins. Co., No. H-05-18()4, 2006 U.S. Dist. LEXIS 45027, at
*2 n.2 (S.D. Tex. June 15, 2006).

As captive insurers have become increasingly significant players in the insurance market,
it is not unprecedented, either domestically or internationally, for captives to be involved in
conflicts with their insureds See, e.g., fn re Hopewell, 238 B.R. at 33 (noting litigation between

insured and captive insurer)Z; CGU Int’l Ins.Plc. v. AstraZeneca Ins. Co., [2005} EWHC 2755

 

l . . . . . .
Using a captive insurer often has several advantages over self-insurance or placing the insurance

with a non-affiliated commercial insurer. 'l`hese can include beneficial tax consequences, reduction in risk
management costs, price stabilization, custoinization, provision of coverage where it is unavailable conventionally,
and control over the investment ofpreiniums. Kar`in Landry, Capn'ves: W?iy or Why Not? (2005), available at
http://www.captive.comfservice/SCG/ProsAndCons.html. Often captive insurers are used to gain access to the
reinsurance market, because of the greater flexibility that can be provided on account of the lesser regulatory
conditions and lower markup costs See Adi<i`sson, supra, at 7~8 (2()06). Using a captive insurer often has
advantageous tax consequences under, for instance, IRC Section 831(b).

2 lt is notable that the Hopewell' litigation involved members of the Zelle law firrn, one of the

counsel representing the Reinsurers in this case.

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(Q.B.D.) (U.K.) (analyzing issue relating to captive insurer settlement with underlying insured
and corresponding payment from reinsurers); Enter. Oil Ltd. v. Strand Ins. Co., {2006} EWHC
58 (Q.B.D.) (U.K.) (underlying insured sought indemnity from captive; reinsurers use control
clause in reinsurance contract to step in and dispute claim).

One issue that can arise in the context of certain captive insurance relationships is how a
captive insurance company who is reinsured for liabilities under its policy with the insured
should evaluate and handle a claim for coverage from its insured given the fact that the insured
owns the captive insurer. Because of that relationship, the reinsurer may question any coverage
determination unless Sorne mechanism is in place ensuring that the coverage determination is
made in good faith. See Adam Pieischer, The Captive Quandarj) and the Duly ofUrmost Good
Faitk, in 15 No. 14 Meaiey’s Litig. Rep. Reinsurance ii (Nov. ll, 2004) (recognizing simiiar
interests of captive and underlying insured may create difficulties for claims adjustment and
describing ways this type of situation is handled). A typical Way to proceed with such claims is
to designate an independent administrator to evaluate the coverage claim. Id. Here, the
Huutsman/IRIC Policy provides that upon a loss, Huntsman and IRIC will designate “loss
adjusters to be used - in co-operation with Reinsurers of this policy.” (Huntsman/IRIC Policy,
Def. Huntsman’s Mot. to Dismiss Ex. A-Z 1[52.) In accordance with the terms of the
Huntsrnan/IRIC Policy, IRIC (with Huntsman) appointed a ioss adjuster (Iritegra) and IRIC

allowed Integra, the adjuster, to adjust the claim in “co-operation With the Reinsurers.” (Id.)3

 

3 Although Ewan Cresswell states in his affidavit that Jolin Roberts of AlG (one of the Reinsurers)

cailed Integra on April 30, 2006 “to notify me [Cresswell} of the retention,” the Declaration of Lee Si<idrnore
(“Skidmore Decl.”), Chairrnan, President and a director of IRIC, places Mr. Cressweil’s statement in proper context
In fact, before John Roberts called Integra, Mr. Skidmore called John Roberts’s supervisor and expiained to him that
Huntsmari and iRIC would like to appoint Integra to adjust I~Iuntsman’s ciaim for the loss arising out of the Aprii 29,
2006 fire. (Skidmore Deci. 11 8.) lt should be noted that the items raised in the Cressweil At`f. and the Skidniore
Decl. are not in conflict and that even if the Court considers the allegations put forth by Mr. Cresswell as true,
Huntsman’s motion to dismiss still should be granted

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The lRIC/Reinsurer Certificates also provide a mechanism for additional protection to the
Reinsurers if Huntsman exercises its contractual rights to iitigate its coverage claims under the
`Huntsrnan/IRIC Policy against lRlC ~ the Reinsurers can “associate with” IRIC in the
investigation and defense of a claim or loss under the Huntsman/IRIC Policy that may affect the
IRICfReinsurer Certiiicates. (lRIC/Reinsurer Certificates, Compl. Ex. l § C(6)(2).) The
Reinsurers have put forward no allegation that IRIC did not honor that provision In fact, IRIC
actua}iy tendered the claim to Reinsurers. The tender of the defense by IRIC to the Reinsurers of
the Jefferson County Coverage Action is compelling evidence that the Jefferson County
Coverage Action is not collusive in nature That tender offer, which Would enable the Reinsurers
to fully and completely assert any coverage positions under the Huntsman/IRIC Policy that they
have articulated throughout the adjustment process, conclusively establishes that IRIC is not
colluding with Huntsman. To date, although they have assumed the direction and control of the
adjustment process, the Reinsurers have declined to accept lRlC’s tender in the Jet`ferson County
Coverage Action (Skidinore Decl. 1§ 7), and have provided no good faith reason for their refusal.
Such a decision to refuse the tender Will bind the Reinsurers to the result in that case: “If the
original insured sues the original insurer and the reinsurer is notified and retirses or neglects to
participate in the defense, the reinsurer is bound by the judgment against the original insurer, and
Will be liable for the reasonable and necessary expenses and costs incurred in Such defense.” tA
Couch on insurance § 9:29, 9-77 (3d. ed. 2003); see also Restatement (Second) of Judginents §
57 (1982) (When a party has an obligation to indemnify another for a loss “and an action is
brought by the injured person against the indemnitee and the indemnitor is given reasonable

notice of the action and an opportunity to assume or participate in its defense, a judgment for the

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injured person...[rneans the] indemnitor is estopped from disputing the existence and extent of
the indemnitee’s liability to the injured person”).

Rather than deal with the legitimate and contractually~speciiied role of both Huntsrnan
and IRIC in this adjustment process, the Reinsurers assert that they should be able - in the forum
of their choice “~» to either arbitrate or litigate Huntsman’s claims for coverage because the
relationship between Huntsrnan and IRIC is somehow collusive in nature (Opp. 9.) There is
simply no basis for that accusation To the contrary, the affidavit of Ewan Cresswell of Integra,
the appointed adjuster controlled by the Reinsurers, makes ciear that at no time during the
adjustment process did iRlC adopt any coverage position, much less the coverage position of
Huntsman. (Cresswell Aff., App. to Opp. 00001, 117.) Moreover, Reinsurers point to no
evidence that lRIC did anything to make the adjustment of the coverage claims anything less
than completely independent of improper influence by Huntsman and IRIC.

Based upon the allegations in the Complaint, the terms and conditions of the
l-Iuntsrnan/IRIC Policy and the statements made by lntegra’s representative, Ewan Creswell,
submitted with the Reinsurers’ response, there is no dispute that Huritsrnan and IRIC followed
the procedures set forth in the Huntsrnan/IRIC Policy designed to adjust the policy in good faith
and that Huntsrnan and IRIC appointed a loss adjuster to be used “in co-operation with the
Reinsurers of this policy.” (Huntsman/IRIC Policy, Def. Huntsrnan’s Mot. to Dismiss Ex. A-2
152.) The affidavit of Ewan Cressweli makes clear that the Reinsurers began to step in and
handle the claim one day after the fire loss. (Cresswell Aff., App. to Opp. 00001, 1[6.)4 As the

Reinsurers recognize: “[b]y dealing With and ultimately paying claims directly to Huntsman,

 

4 111 fact, Integra, acting at the direction of the Reinsurers, went so far as to fill out the proofs of loss

for Huritsman in connection with this claim. As the affidavit of Ewan Cresswell notes, “Integra prepared the POL’s
[proofs of loss} and submitted them for Huntsrnan’$ Signaturc.” (Id. at 1§14.)

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Reinsurers have essentially fulfilled lRIC’s obligations to Huntsrnan.” (Opp. 30.) After stepping
in to “lRIC’s obligations” to evaluate coverage under the Huntsman/IRIC Policy for over a year
and a half, the Reinsurers cannot now pick and choose what provisions they decide to accept and
those they decide to ignore Indeed, the Reinsurers concede “that ‘when the reinsurer by his
actions and relations with the original insured directly assumes the insurer’s responsibility and
liability,’ the insured inav enforce his insurer’s policy against reinsurers despite lack of privity.”
(Opp. 29 (emphasis added) (citing Fontenot v. Marquette Cas. Co., 247 So. 2d 572, 576 (La.
1971)).) The point is that under these circumstances the terms and conditions of the insured’s
policy controls and not the reinsurance certificates

B. Even if True, Reinsurers’ Allegations Are Insufficient to Disregard Contract
Provisions

lt is telling that the Reinsurers have put forward no cases or other authority supporting
their unprecedented claims that request that this Court, in effect, ignore significant portions of
the Huntsman/IRIC Policy. Of course, this is not snrprising, given the plain language of the
contracts here and the accepted and established nature of captive insurance companies lnstead
of pointing to any particular contractual language or case law supporting their theories, the
Reirisurers cobble together a number of irrelevant and inaccurate allegations of the conduct of
Huntsman and IRIC throughout the adjustment claim as a basis to ignore the relevant contractual
provisions

To be sure, the Reinsurers do not come forward With any allegations that, placed in
context, support their requests for relief For exarnple:

0 Sorne of the Reinsurers’ allegations are plainly irrelevant for
purposes of this motion:

“that Huntsman [sic} is a captive insurance carrier, wholly
owned and controlled by Huntsman; that Huntsman created

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IRIC for the purpose of obtaining insurance through the
international market.” (Opp. ll.)

Some of the Reinsurers’ allegations are specifically
contemplated by the terms and conditions of the
I-luntsman/lRIC Policy (§ 52, a loss adjuster is to be used “in
co-operation with Reinsurers of this policy”) and the
IRIC/Reinsurer Certiiicates {§ C(?); the Reinsurers may pay
Huntsman’s directly “at the request oi” IRIC):

“that Huntsrnan deals directly with Reinsnrers; that
I-Iuntsman has made numerous demands on Reinsurers; that
Reinsurers have made interim payments to Huntsrnan . . .
that lRIC has routinely failed to participate in meetings
between Huntsman and Reinsurers concerning disputed
coverage and quantum issues.” (Opp. l l.)

Some of the Reinsurers’ allegations are just plainly conclusory,
are without any factual support, and should not be
countenanced by this Ccurt:

“that lRIC functions as a ‘pass through’ or shell
corporation . . . that IRlC has adopted Huntsman’s
coverage positions . . . that Huntsman has assumed the
duties and responsibilities of IRIC under the Certificates;
that IRIC is Huntsman’s agent; and that Huntsman has
sought to receive and has received direct benefits from the
Certiiicates . . . that IRIC has ceded all authority to
Huntsman.” (Id.)

In short, when analyzed correctly and viewed in connection with the actual terms and

conditions of the contracts at issue, these facts do not serve to alter the basic terms of the
contracts and compel Huntsman to participate in any arbitration or to litigate its insurance
coverage claims with the Reinsurers in this Court. First, the Reinsurers do not (and cannot)
dispute that the Huntsman/lRlC Policy contains a forum selection clause that provides “in the
event of the failure of [lRlC] to pay any amount claimed to be due” under the Policy, IRIC at the
request oi` Huntsrnan “will submit to the jurisdiction of any court of competent jurisdiction
within the United States . . .” (Huntsrnan/IRIC Policy, Def. Huntsrnan’s l\/Iot. to Dismiss Ex. A-

2 1§44.) Such a provision is particularly notable, where, as here, the Reinsurers do not (and

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cannot) dispute that they had the opportunity to negotiate terms and conditions of the
Huntsman/IRIC Policy and, of course, the lRIC/Reinsurer Certificates5 (including the relevant
dispute resolution provisions), or, in the alternative, refuse to sign a contract of reinsurance in the
first instance Indeed, if the Reinsurers had wanted disputes under the Huntsman/IRIC Policy to
be resolved through arbitration ~ with the participation of the Reinsurers -» they could have
requested such a provision

Second, the Reinsurers do not (and cannot) dispute that, through the IRIC/Reinsurer
Certiticates, the Reinsurers explicitly agreed that they are “to follow liabilities” under the
Huntsman/lRIC Policy “in all respects.” Detennining the Reinsurers’ obligations under the
IRlC/Reinsurers Certiucates is a distinctly different inquiry than the determination of insurance
coverage under the Huntsman/IRIC Policy itself. See, e.g., Ciu`zens Cas_ Co. of New York v. Am.
Glass Co., 166 F.Zd 91, 94»95 (7th Cir. 1948) (“Reinsurance is defined to be a contract that one
insurer makes with another to protect the first insurer from a risk it has already assumed The
contract of insurance and that of reinsurance remain totally distinct and unconnected.” (quoting
Union Cent. Lz`fe Ins. Co. v. Lowe, 349 lll. 464, 469 (1932)}). This point is further reinforced by
the fact that “disputes” under the IRIC/Reinsurer Certificates are to be arbitrated by an industry
professional “with not less than ten years experience of international insurance or reinsurance
business as persons engaged in such business or advising such business in a professional
capacity.” (Conipl. Ex. l § C(l3)(2).)

Finally, by its tenns, the scope of the dispute clause under the IRIC/Reinsurer Certificates
does not include the determination of coverage under the Huntsrnan/IRIC Policy. 'l`he

IRIC/Reinsurer Certificates specifically describe the type of disputes that will be arbitrated as

 

In fact, the lRlC/Reinsurer Certiiicates are standard forms used by reinsurers generally

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those disputes “between {IRIC and the Reinsurers} arising out of or in connection with this
Agreement including formation and validity whether arising during or after the period of this
Agreement . . .” (Ia'. at § C(l$){l).)

II. Reinsurers’ I)emand to Compel Arbitration Should Be Denied

A. Reirisurers Have Put Forward No Facts Suggesting that Huntsman Should Be
Bound as a l\ion~Signatory6

The legal theories asserted by the Reinsurers encouraging the Court to ignore the forum
selection clause in the Hnntsman/IRIC Policy simply are inapplicable because the Reinsurers
point to no facts that were unknown to the Reinsurers at the time they entered into the
IRIC/Reinsnrer Certiiicates. lndeed, they do not dispute that they entered into the
lRIC/Reinsurer Ceitificates with full knowledge that IRIC was a captive insurance company
wholly owned by Huntsman. (Compl. ‘[HI 26, 27, 29.) Further, the Reinsurers put forward no
allegations suggesting that when the Reinsurers agreed to reinstate the liabilities of IRIC and
follow the terms and conditions of the Huntsnian/IRIC Policy - including Huntsrnan’s right to
litigate its claims for insurance coverage in a court of I~iuntsrnan’s choice ~ IRIC’s true identity
Was somehow hidden front the Reinsurers. ln fact, the Reinsurers do not (and cannot) make any
serious allegation that IRIC should have participated in the adjustinth of the claim or that
Huntsman or IRIC violated the terms of the Huntsman/lRIC Policy based on IRIC’s lack of
participation in the adjustment process This is because the Huntsman/IRIC Policy does not
provide for any substantive involvement in the adjustment of a claim by IRIC other than the
work to be done by the designated adjuster. And for good reason ~»w any serious attempt by IRIC

to control the evaluation or determination of Huntsrnan’s claim may be subject to attack by the

 

6 ’l'he Reinsurers’ references to the F ederal Arbitration Aet and the Conveution on the Recognition

and Enforcernent of Foreign Arbitral Awards (Opp. 12~l3) are inapplicabie here because the documentary evidence
reveals that Huntsman is a non-signatory to thc contract containing the arbitration clause and the dispute at issue is
not within the scope of the arbitration clause (See supra pp. 12-13)

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Reinsurers as collusive or illegitimate based on IRIC’s inability to independently adjust a claim
and the fact that IRIC is owned by Huntsman.

B. An Individual Analysis of Each Legal Theory Pled by the Reinsurers
Dernonstrates Their Lack of Adequacy

As discussed above, it is axiomatic that this Court should not disregard the particular
contractual provisions based on facts known to the Reinsurers at the time they entered into the
contracts {See supra pp. lO-13.) In addition, an examination of each of the Reinsurers’ specific
legal theories »M estoppel, veil piercing, agency, and the newly-asserted claim that Huntsrnan is a
third party beneficiary - demonstrates their inapplicability here.

l. The Reinsurers Do Not Demonstrate Sufficient Facts to Plead Estonnel

Despite spending over five pages attempting to justify their claims for estoppel, the
Reinsurers fail to cite any case in which an insured was bound to its insurer’s arbitration
agreement with a reinsurer when the insured had not first initiated suit seeking to recover on the
reinsurance agreement As the Reinsurers concede, direct benefits estoppel only binds non-
Signatories when they “knowingly exploit[] and receive{] a direct beneiit under the agreement
containing the arbitration clause.” (Opp. 15 (citt'ng MAG Portfolio Consultant, GMBH v. Merlin
Biomea' Group, LLC, 268 F.3d 58, 62 (Zd Cir. ZOOl)).) This is clearly not the case here, as the
only contract Huntsman has sought a benefit on is its insurance contract with IRIC. Accordingly,
the Reinsurers’ blanket statement that Huntsman has “consistently and knowingly exploited the
terms of the Certiiicates and ultimately demanded and received direct benefit from them”

(Opp. 16) simply goes beyond a fair reading of the undisputed facts. Not only has Huntsman
never claimed to be a party to the lRICfReinsurer Certiiicates, but it has never sought any direct

benefit from them. 'I`o the contrary, it is the Reinsurers who, by their own admission, have

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stepped in to the adjustment process and “essentially fulfilled IRIC’s obligations to Huntsman.”
(Opp. 30.)

The cases relied upon by the Reinsurers in support of their theory of estoppel are
misplaced Although the Reinsurers point to this Court’s decision in Wood v. Pen T ex Resources,
458 F. Supp. 2d 355 (S.D. Tex. 2006) for the unsurprising point that conduct during the course of
contract performance is an important element of estoppel (Opp. l7), nothing in Huritsman’s
conduct, alleged or otherwise, has indicated a knowing exploitation of and direct benefit received
from the IRIC/Reinsurer Certificates. And certainly nothing about Huntsman’s conduct amounts
to what is necessary to overcome the warning in Wood that “courts must be extraordinarily
cautious in allowing a contracting party to reach out to enforce an arbitration clause in [a]
contract against a nonparty, particularly if the nonparty has not himself sued the party.” 458 F.
Supp. 2d at 372. 7 See also Bridas S.A.P.I. C. v. Gov ’t of T urkmenistan, 345 F.Bd 347, 362 (5th
Cir. 2003) (direct benefits estoppei only used when “nonsignatory had brought suit against a
signatory premised in part upon the agreement”).

Moreover, Worla' Omni Fin. Corp. v. Ace Capr`tal Re Inc., 64 F. App’x 809 (2d Cir. 2003)
is inapposite because the underlying insured initiated the suit in question, sued both insuring and
reinsnring entities, and alleged breaches of the reinsurance contacts Id. at 813. To be sure,
Huntsiuan has not initiated the present suit and it has only sued IRIC in the Jefferson County
Coverage Action solely under the terms of the Huntsman/IRIC Policy. ln addition, Wor!d Omm`

confirms that in order to enforce a dispute resolution clause the dispute at issue must fail Within

 

7 Contrary to the Reinsurers’ statement that “Huntsrnan cannot claim that it has not directiy Sought

and received benefits under the Certiticates” (Opp. 17), Huntsrnan can and does make such a claim; more
importantly, the allegations made by Reinsurers do not support this contention

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that clause, id. at 812, which is not the case here. (See supra pp. 12-13.) In short, Huntsman
cannot be forced to arbitrate under a theory of estoppei given the allegations in this case.

2. The Reinsurers Do Not Demonstrate
Sufficient Facts to Plead Under a Veil Piercinn Theory

Reinsurers’ contention that Huntsrnan is bound to arbitrate through the doctrine of alter
ego/veil piercing is incorrect both legally and factually At the outset, it is a given that corporate
form should be respected Where, as here, Def`endants observed corporate formalities and took
steps to retain their separate identities, there is no cause to treat them as alter egos or collapse
different corporations into one entity. Certainly nothing that has been alleged is sufficient to
overcome the strong presumption that the corporate form shouid be respected See Bridas
S.A.P.I. C., 345 F.Sd at 359 (“Courts do not tightly pierce the corporate veil even in deference to
the strong policy favoring arbitration.” (quoring ARWExploration Corp. v. Aguirre, 45 F.3d
1455, 1461 (10th Cir. 1995))).

Although the Reinsurers engage in a misleading analysis of whether the appropriate
analysis of piercing the corporate veil is a conjunctive or disjunctive test (Opp. 20),8 it is of no
moment because Reinsurers have insufficiently alleged both prongs of the test First, with
respect to the “dornination” prong, the only ailegation made by Reinsurers that is of possible

relevance to this test is that “Huntsrnan and IRIC are run by common officers and are located at

 

Reinsurers concede that “later cases,” in the Second and Fifth Circuits, 1.e. more persuasive,

controlling authority, have found that piercing the corporate veil to compel arbitration against a non»signatory
requires both a showing of complete control over the signatory and a showing of fraud (Id.) SATInt’l. Corp. v.
Great thte Fleet, No. 03Civ7481(KNF), 2006 WL 661042, at *14 (S.D.N.Y. Mar. 16, 2004) was specifically
decided under New York state law, concerns personal jurisdictionj and found no domination Tell:'um, Inc. v.
Coming Inc., No. 03Civ8487(NRB), 2004 WL 307238, at *7 (S.D.N.Y. Feb. 13, 2004) also found no domination
and by no means said or implied fraud would not have been an additional requirement had domination been found.
lndeecl, the primary citation found in Telfz'um, Inc. on the alter ego subject is to a case that found that a showing of
fraudulent or Wrongf`ui behavior is a “sine qua non to holding a non~signatory bound by an arbitration agreement."
lnterocean Shippfng Co. v. Na¢"l Shc'pping and Tradz`ng Corp., 523 F.Zd 527, 539 (2d Cir. 1975). Further, under
Texas law, even more than just fraud is required W veil piercing for contractual obligations is limited to instances of
“actual B'aud on the obligee primariiy for the direct personal benefit of the” shareholder or parent Tex. Bus. Orgs.
Code Ann. § 21.223(a)(2) (Vernon 2003); Tex, Bus. Corp. Act § 2.21(A)(2) (Vernon 1997).

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the same address.” (ld. at 23.) By itself, this is a common feature of corporate families and is
clearly insufficient to meet this test. See Rapia’ Transit Const. Co. v. City of New York, 259 N.Y.
472, 488 (1932) (“Some, perhaps all, of its corporate officers are the same persons who occupy
similar offices in the parent company; but it maintains its own organization and has an
independent life.”).9

Second, the Reinsurers’ allegations of the “fraud or wrong” purportedly done by
Huntsrnan fare no better. Sirnply put, there is no legitimate basis to claim that Huntsman has
engaged in any wrongful or fraudulent activity Reinsurers point to the allegations that
I~Iuntsman “dealt with the Reinsurers directly,” and “move[dl for dismissal of the instant action”
without any case citations or analysis as to how these actions constitute fraud (Opp. 24.) Any
allegation of fraud is belied hy the notion that until the filing of this action and during the entire
course of the adjustment of the claim, Reinsurers never contended that Huntsrnan was behaving
in a Wrongli.ll way. This post hoc contention that the Reinsurers “had no way of knowing that
the parent company of the subsidiary with whom it [sic] contracted would completely ignore the
corporate form of the subsidiary” (Opp. 21 n.17), is just plain wrong and not even alleged in the
Complaint. But even assuming this allegation is true, it is contradicted by the Reinsurers’ own
actions and statements during the course of the adjustment of this claim.

3. The Reinsurers Do Not Dernonstrate
Sufficient Facts to Plead an Aaencv Relationshit)

The entirety of Reinsurers’ argument that Huntsman is bound to the arbitration agreement

contained in the IRIC/Reinsurer Certificates under the theory of agency is that: “IRlC is the

 

9 See also Lucas v. Tax. Indus., lnc., 696 S.W.Zd 372, 376 (Tex. 1984) (“In fact, the established law

indicates that the blending of activities alone cannot suffice to treat two corporations as one. ‘[C]ourts will not
because of stock ownership or interlocking directorship disregard the separate legal identities of corporations, unless
such relationship is used to defeat public convenience justify wrongs, protect fraud, or defend crime.”’) (citation
omitted).

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agent for Huntsrnan and Huntsrnan is lRIC’s principai.” (Opp. 24.) Reinsurers do not allege that
on entering their agreement with IRIC, they reasonably believed IRIC had the authority to bind
Huntsman, nor that any such belief would be traceable to Huntsrnan’s manifestations of authority
Both would be necessary under the doctrine of apparent authority, Restaternent ('l`hird) of
Agency § 2.03 (2005), which one must suppose is the theory Reinsurers seek to advance because
(in addition to not pieading sufficient facts) they do not actually say.

Instead, they cite two cases where agency was specifically found to be lacking,
apparently to bolster the broad and incontestable idea that, when the proper facts are alleged, a
non-signatory can be bound to an agreement entered by an agent The lack of merit to their
argument is especially apparent Where, as here, the iRlC/Reinsurer Certiiicates specifically state:
“This Agreerrient is solely between the Reinsured and the Reinsurer,” thus disclaiming any
authority to bind Huntsman. (IRIC/'Reinsurer Certificates, Cornpl. Ex.l § C(B)(l).) As an
agency case cited by Reinsurers phrases it, “[w]here an agreement specificaliy precludes the
creation of an agency relationship, courts will not create one.” Telh'um, Inc. v. Corning Inc.,
No.(BCivS¢lS?(NRB), 2004 WL 307238, at *6 (S.D.N.Y. Fe‘o. 13, 2004).

4. The Reinsurers Do Not Demorlstrate Sufiicient
Facts to Plead Under a Third~PartV Beneiiciary Theory

The Reinsurers allege that Hnntsrnan is bound to the arbitration provision in the
IRIC/Reinsurer Celtit`icates “under the principles and theories of assumption, agency, alter ego,
andfor cstoppel.” (Compl. ‘|l40.) In their opposition to the present motion to dismiss, however,
the Reinsurers conspicuousiy include an entire section of brief insisting that they have
“sufficiently stated claims under the theory of third'party beneliciary” to compel Huntsmari to
arbitrate (Opp. 25-26.) As a preliminary matter, this new legal theory should be rejected

because the Reinsurers do not plead it in their Complaint. See Baz`ley v. City of Ridgeland,

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No.3:05~CV»2ooBS, 2006 U.S. Dist. LEXIS 41227, at *8-9 (S.D. Miss. June 2, 2006) (“Because
Plaintiff failed to plead [this] claim [found for the first time in his Response] and has not moved
the Court for leave to amend his Complaint, he is now barred from raising this claim.”); see also
id. at *10~il; Greggs v. Hillman Distrt`b. Co., 719 F. Supp. 552, 555 (S.D. Tex. 1989).

In support of their newly-added theory, the Reinsurers cite sections 7 and l0 of the
lRIC/Reinsurer Certiticates (Opp. 25), Which acknowledge the existence of the “original
insured” and provide for certain procedures in recognition of the fact that the policy is one of
reinsurance They also cite Attachrnent D as providing a benefit to i-Iuntsman. (Ia'.) None of
these un~plead “allegations,” however, makes Huntsrnan a “beneiiciary” in the sense necessary
to overcome the “presumption that parties are contracting only for themselves.” JP Morgan
Chase & Co. v. Conegie ex rel Lee, 492 F.3d 596, 600 (5th Cir. 2007). Indeed, the language
from the IRlC/Reinsurer Certiticates in the cited sections make clear that iRIC is the beneficiary
under the agreement10 Even if these provisions were read as providing for a potential benefit to
Huntsrnan as an underlying insured, Huntsman has not attempted to derive direct benefits from
these aspects of the agreement, as required by Reinsiirers’ cited cases for this theory to applyll
See HD Brous & Co. v. Mrzyglocki, No.03Civ8385(CSl-I), 2004 WL 376555, at *8 (S.D.N.Y.

Feb. 26, 2004); JP Morgan Chase, 492 F.3d at 600.

 

w 'i`lie Reinsurers cite Section 7 of the IRIC/Reinsnrer Certificates, which provides for the possibility

of the Reinsurers directly transmitting loss payments to the underlying insured, as evidence that Huntsman is a
beneficiary (Opp. 25.) Howcver, this provision is explicitly limited to occurring “upon request by the Reinsured.”
(Compl. Ex. l § 7.) The ciause goes on to say that the “Loss Payee shall have no rights under this reinsurance, nor
shall the Loss Payee be aiiowed to bring suit under any circumstance against the Reinsurer on this agreement.” (Id.)
This makes clear that at the time the contract was executed, the intention of the parties was to not include Huntsrnan
as a third-party beneficiary

il Reinsurers’ theory that Huntsman’s simple recitation of Attachment D in its motion papers (Opp.

l'?) is somehow an acknowledgement that it is a third‘party beneficiary is incorrect Pointing out the mere fact that
the IRIC/Reinsurer Certiticates require Reinsurers to “submit to a United States court” at the request of the reinsured
or the underlying insured (Def, Huntsman’s Mot. to Disrniss 10) hardiy represents an attempt to derive “direct
benetits” from the Certiticates.

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III. Reinsurers’ Declaratory Judginent Claim Should Be Dismissed

A. The Reinsurers Demonstrate No Facts Establishing the Requisite Contractual
Privity or a Justiciable Controversy Between Huntsman and the Reinsurers

As discussed above (supra note 10), the lRlC/Reinsurer Certificates provide the
Reinsurers with no rights against Huntsman. More particularly, the lRlC/Reinsurer Certiiicates
provide no explicit right allowing the Reinsurers to compel `Huntsman to litigate in a court of the
Reinsurers’ choosing Indeed, the Reinsurers’ requested relief highlights the duplicitous nature
of their requests The Reinsurers have requested a coverage determination by this Court under
the terms and conditions of the I-IuntsinanflRlC Policy. Having done this, however, the
Reinsurers cannot now assert that the choice of forum provision contained in that very same
contract should be flatly disregarded

In support of their overreaching request, the Reinsurers cite several cases where, despite
the usual rule that underlying insureds cannot collect on their insurance policies against their
insurer’s reinsurance companies, conduct by reinsurers results in courts allowing direct actions
by insureds against reinsurers. (Opp. 28-29 (citing Allsrare Ins. Co. v. Administratia Asigurarz'lor
de Stat, 948 F. Supp. 285, 307 (S.D.N.Y. 1996), Sec. Benefz`t Li"fe Ins. Co. v. Fed. Deposz`t Ins.
Corp., 804 F. Supp. 217, 226 (D. Kan. 1992), Jurupa Valley Spectrum, LLC v. Nat'l Indem. Co.,
No. 06 Civ. 4023(DLC), 2007 WL 1862162, at *8 n.9 (S.D.N.Y. June 29, 2007), Koken v.
Relz'ance Ins. Co., 846 A.2d 167, 171 (Pa. Commw. Ct. 2004), Font‘enot v. Marquette Cas. Co.,
247 So. 2d 572, 576 (La. l97l)).) Huntsman agrees that in certain circumstances, i.e., where
reinsurers deal directly with an insured, an insured may sue the reinsurer. However, those cases
do not at all provide the basis for a reinsurer to sue an insured directly, especially given the
undisputed facts present in this case. lndeed, none of the cited cases involve a reinsurer suing

the underlying insured, nor do any cases exist that Huntsman is aware of that support such a

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proposition in a case involving the facts present here. Such a result is not surprising given this
would essentially create one-way privity relationships - allowing reinsurers essentially to
bootstrap their own conduct into creating privity where it would otherwise not exist

B. The Jefferson County Action ls Where the Coverage Determination Should Be

Made and Reinsurers Have a Full Opportunity to Protect Themselves in that
Action

Reinsurers allege that the Jefferson County Coverage Action lacks sufficient disparate
“interests” between Huntsman and IRIC. (Opp. 32-34.) What this analysis ignores is that lRIC
has tendered a full defense of the claims to Reinsurers, which is the precise remedy to provide
the Reinsurers with the appropriate protection (See Bernsen Oct 3, 2007 Letter to Reinsurers,
App. to Opp. 00154»00170.) Undcr basic indemnity principles, whenever a party is sued and the
potential loss from that suit is indemnified by another party, indemnitors are afforded the
opportunity to associate with their indemnitees, Who often tender a full defense to the indemnitor.
lt then becomes the decision of the indemnitor whether to step in and defend the legal interests of
the indemnitee, or else refrain from defending and take the risk that the indemnitee is found
liable to an injured party. And, as discussed above, it is black letter law that if the reinsurer is
notified and refuses or neglects to participate in the defense of an action between the original
insured and insurer, “the reinsurer is bound by the judgment against the original insurer.” lA
Couch on Insurance § 9:29, 9-77 (Bd. ed. 2003); see also Restatement (Second) of Judgments §
57 (1982). (See supra pp. 8-9.)

In addition, the Reinsurers’ claim that the Jef`ferson County Coverage Action “is an
improper suit between nonadversaries” (Opp. 27) is disingenuous Here, the plain language of
the documents provide Huntsman with the right to litigate coverage disputes against IRIC under
the Huntsrnan/IRIC Policy in the forum of its choosing The lRiC/Reinsurer Certificates do not

provide otherwise Moreover, it was the Reinsurers’ decision to deny IRiC’s tender that has

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resulted in a situation in which the Reinsurers are not able assert the coverage positions and
defenses that they developed and articuiated throughout the adjustment process

CONCLUSION

For the foregoing reasons, and the reason contained in Huntsrnan’s opening
memorandum, Huntsrnan requests that this Court grant its motion to dismiss

Respectfuliy submitted this 9“‘ day of Novernber, 2007.

By: gi£ig, §§

Gilbert I. how, Attorney in Charge
TSB No. 12619000
Southern District Bar No. 6808
D. Allan J ones
Of COHHS@l= rsB No. 10863500
Southern District Bar No. 23202

Thornas H. Sear

Howard F. Sidrnan

jennifer Del Medico ORGAIN, BELL & TUCKER, LLP
470 Orleans, 4“‘ Floor

Jones Day P.O. Box 1751

222 East 415t Stre@t seaman rean 77704-1751

NCW YOI`l(, N€W YOI`i{ 10017 409_838_6412 __ phone

212-326-3939 ~ phone

212»755~7306 m rex 409-333'6959 -~ fax

ATTORNEYS FOR DEFENDANT
HUNTSMAN CORPORATION

CERTIFICA'}`E OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing Reply to
Plaintiff Reinsurers’ Response in Opposition to Huntsman Corporation’s Motion to Disrniss
Pursuant to Fed. R. Civ. P. 12(b)(6), in its entirety, has been served upon all counsel of record

herein on this 9‘1‘ day of Novernber, 2007.

Gilbert I. Low [or] D. Allan J ones

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